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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                         August 24, 2023
                           UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


DIANE EDMISTON, et al.,                         §
                                                §
         Plaintiffs,                            §
                                                §
VS.                                             § CIVIL ACTION NO. 4:23-CV-01977
                                                §
EK REAL ESTATE SERVICES OF NY,                  §
LLC, et al.,                                    §
                                                §
         Defendants.                            §

                       ORDER OF DISMISSAL ON NOTICE

       Plaintiff in the above styled and numbered cause of action has filed a notice of dismissal

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure (Dkt. No. 20).

       Accordingly, it is Ordered that this case is dismissed without prejudice.

       It is so ORDERED.

       SIGNED on August 24, 2023, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge




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